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 1       NEWMEYER & DILLION LLP
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 2       AMTOJ S. RANDHAWA, CBN 301360
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 4       Nathan.Owens@ndlf.com
         Amtoj.Randhawa@ndlf.com
 5
         Attorneys for Plaintiffs
 6       STEPHEN CHEIKES, an individual; and THE
         STORYTELLERS GROUP ENTERPRISES CO., a
 7       Canadian corporation

 8                                   UNITED STATES BANKRUPTCY COURT
 9                                      CENTRAL DISTRICT OF CALIFORNIA
10

11       In Re:                                                BK. CASE NO.:              2:18-BK-14672-VZ
                                                               ADV. CASE NO.:             2:18-AP-01235-VZ
12       SHAMAN BAKSHI,                                        JUDGE:                     Hon. Vincent P. Zurzolo

13                            Debtor.

14                                                          AMENDED PRE-TRIAL STIPULATION FOR
         STEPHEN CHEIKES, an individual; and                CLAIMS FOR RELIEF SOLELY AS TO
15       THE STORYTELLERS GROUP                             SUBSTITUTE EXPERT FOR DECEASED
         ENTERPRISES CO., a Canadian                        EXPERT
16       corporation;
                                                               Date:          November 15, 2022
17                           Plaintiffs,                       Time:          10:00 a.m.
                                                               Place:         Courtroom 1368
18                 v.                                                         Roybal Federal Building
                                                                              255 E. Temple St.
19       SHAMAN BAKSHI,                                                       Los Angeles, CA 90012

20                           Defendant.

21                                          PRE-TRIAL STIPULATION

22                Stephen Cheikes, an individual, and The Storytellers Group Enterprises Co., a Canadian

23   Corporation, plaintiffs in this adversary proceeding (“Plaintiff”1) and Shaman Bakshi, defendant

24   in this adversary proceeding (“Defendant”) submit the following Pre-Trial Stipulation through

25   their respective counsel solely to remove references to the deceased expert Frank Hicks, and

26   replace with Beth Chrisman.

27
     1
      Because Mr. Cheikes is the sole owner and member of The Storytellers Group Enterprises Co., both plaintiffs shall
28   collectively be referred to as “Plaintiff.”

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 1           Specifically, both Plaintiff and Defendant’s amend their Exhibit Lists and Defendant

 2   designates Beth Chrisman in his Witness List the place of Frank Hicks, and lodges her expert

 3   report and deposition transcript:

 4           Amended Appendix 1; (Plaintiff) Exhibit #46, and

 5           Amended Appendix 2 ;(Defendant) Exhibit “OO”,

 6           Amended Appendix 4: (Defendant’s witness description),

 7                                              STIPULATION

 8           The foregoing admissions have been made by the parties and supersede the witness list

 9   and exhibit list in this adversary proceeding, unless modified to prevent manifest injustice.

10   IT IS SO STIPULATED.

11    Dated: October 31, 2022                            NEWMEYER & DILLION LLP
12

13                                                       By: ___/s/ J. Nathan Owens_____________
                                                            Attorneys for Plaintiffs
14                                                          J. Nathan Owens
                                                            STEPHEN CHEIKES, an individual; and
15                                                          THE STORYTELLERS GROUP
                                                            ENTERPRISES CO., a Canadian
16                                                          corporation
17

18    Dated: October 31, 2022                            PACHULSKI STANG ZIEHL & JONES LLP
19

20                                                       By: /s/ Jeffrey P. Nolan
                                                            Jeffrey P. Nolan
21                                                          Attorneys for Defendant
                                                            SHAMAN BAKSHI
22

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 1                                         AMENDED APPENDIX 1

 2                                         (PLAINTIFFS’ EXHIBITS)

 3   Plaintiff OFFERS:

 4          Exhibit #1: E-mail Correspondence Dated October 13, 2010 (CHEIKES00243);

 5          Exhibit #2: E-mail Correspondence Dated October 14, 2010 (BAK-CHEIK 000589 -

 6           00591);

 7          Exhibit #3: E-mail Correspondence Dated October 28, 2010 (CHEIKES00197);

 8          Exhibit #4: E-mail Correspondence Dated November 1, 2010 (BAK-CHEIK-0215);

 9          Exhibit #5: E-mail Correspondence Dated January 12, 2011 (BAK-CHEIK-0218);

10          Exhibit #6: E-mail Correspondence Dated February 15, 2011 (CHEIKES00001-

11           CHEIKES00006);

12          Exhibit #7: E-mail Correspondence Dated February 16, 2011 (CHEIKES00007-

13           CHEIKES00008);

14          Exhibit #8: E-mail Correspondence Dated February 18, 2011 (CHEIKES00009-

15           CHEIKES00010);

16          Exhibit #9: Bakshi First Guarantee Dated February 23, 2011 (CHEIKES00140-

17           CHEIKES00142);

18          Exhibit #10: E-mail Correspondence Dated February 23, 2011 (BAK-CHEIK 000632);

19          Exhibit #11: E-mail Correspondence Dated February 23, 2011 (CHEIKES00012);

20          Exhibit #12: E-mail Correspondence Dated February 24, 2011 (CHEIKES00205);

21          Exhibit #13: E-mail Correspondence Dated February 24, 2011 (CHEIKES00017);

22          Exhibit #14: E-mail Correspondence Dated February 24, 2011 (CHEIKES00015-

23           CHEIKES00016);

24          Exhibit #15: E-mail Correspondence Dated February 26, 2011 (CHEIKES00021);

25          Exhibit #16: E-mail Correspondence Dated February 27, 2011 (CHEIKES00144-

26           CHEIKES00145);

27          Exhibit #17: E-mail Correspondence Dated March 1, 2011 (CHEIKES00028);

28          Exhibit #18: E-mail Correspondence Dated March 9, 2011 (CHEIKES00033-

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 1           CHEIKES00035);

 2          Exhibit #19: E-mail Correspondence Dated March 10, 2011 (CHEIKES00403);

 3          Exhibit #20: “Agreement to Facilitate Loan Transaction” dated March 11, 2011

 4           (CHEIKES00209-CHEIKES00211);

 5          Exhibit #21: E-mail Correspondence Dated March 10, 2011 (BAK-

 6           CHEIK000661,CHEIKES00426-CHEIKES00427);

 7          Exhibit #22: “HSBC BANK (UK) STANDBY LETTER OF CREDIT ISSUANCE

 8           AGREEMENT” dated March 10, 2011 (BAK-CHEIK00815-BAK-CHEIK00824);

 9          Exhibit #23: E-mail Correspondence Dated March 12, 2011 (CHEIKES00194-

10           CHEOLES00195);

11          Exhibit #24: E-mail Correspondence Dated March 12, 2011 (BAK-CHEIK 0006067);

12          Exhibit #25: E-mail Correspondence Dated March 16, 2011 (BAK-CHEIK 000646-BAK-

13           CHEIK 000647);

14          Exhibit #26: Bakshi Notarized Confirmation of Credit Facility Dated March 17, 2011

15           (BAK-CHEIK 000791-BAK CHEIK 000792);

16          Exhibit #27: Fade to Black Entertainment, LLC Confirmation of Credit Line/Facility

17           dated March 17, 2011 (BAK-CHEIK 000805-BAKCHEIK 00806);

18          Exhibit #28: E-mail Correspondence Dated April 5, 2011 (CHEIKES00039);

19          Exhibit #29: E-mail Correspondence Dated April 5, 2011 (CHEIKES00213);

20          Exhibit #30: E-mail Correspondence Dated April 12, 2011 (CHEIKES00044);

21          Exhibit #31: E-mail Correspondence Dated April 18, 2011 (BAK-CHEIK 000634-BAK-

22           CHEIK 000635);

23          Exhibit #32: E-mail Correspondence Dated April 29, 2011 (BAK-CHEIK 00639);

24          Exhibit #33: E-mail Correspondence Dated May 6, 2011 (BAK-CHEIK 000608);

25          Exhibit #34: E-mail Correspondence Dated May 11, 2011 (CHEIKES00051);

26          Exhibit #35: E-mail Correspondence Dated June 20, 2011 (BAK-CHEIK 000653);

27          Exhibit #36: E-mail Correspondence Dated October 31, 2012 (CHEIKES00129);

28          Exhibit #37: E-mail Correspondence Dated November 10, 2013 (BAK-CHEIK 000678-

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 1              BAK CHEIK 000681);

 2             Exhibit #38: E-mail Correspondence Dated January 21, 2013 (BAK-CHEIK 0282-BAK-

 3              CHEIK 0284);

 4             Exhibit #39:E-mail Correspondence Dated January 29, 2013 (BAK-CHEIK 0285-BAK-

 5              CHEIK 0288);

 6             Exhibit #40: E-mail Correspondence Dated November 21, 2013 (BAK-CHEIK 0299);

 7             Exhibit #41: E-mail Correspondence Dated November 21, 2013 (BAK-CHEIK 0300);

 8             Exhibit #42: E-mail Correspondence Dated January 9, 2014 (BAK-CHEIK 0304);

 9             Exhibit #43: E-mail Correspondence Dated March 24, 2015 (CHEIKES00114);

10             Exhibit #44: E-mail Correspondence Dated March 9, 2016 (BAK-CHEIK 0397-BAK-

11              CHEIK 0399);

12             Exhibit #45: E-mail Correspondence Dated March 22, 2017 (CHEIKES00133);

13             Exhibit #46: Deposition Transcript of Frank A. Hicks Beth Chrisman with exhibits

14              (original copy to be lodged in accordance with L.B.R. 7030-1(b));

15             Exhibit #47: Deposition Transcript of Defendant Shaman Bakshi with exhibits (original

16              copy to be lodged in accordance with L.B.R. 7030-1(b));

17             Exhibit #48: Deposition Transcript of Richard Charles Wlodarczyk, III, with exhibits, in

18              United States Bankruptcy Court, Southern District; Adversary #17-90123; Case # 17-

19              01567-CL (original copy to be lodged in accordance with L.B.R. 7030-1(b))2;

20             Exhibit #49: Plaintiffs’ Complaint in Orange County Superior Court Case No. 30-2013-

21              00637770-CU-BC-CJC;

22             Exhibit #50: Default Judgment against Defendant in Orange County Superior Court Case

23              No. 30-2013-00637770-CU-BC-CJC;

24             Exhibit #51: Order on Defendant’s Motion to Set Aside Default Judgment in Orange

25              County Superior Court Case No. 30-2013-00637770-CU-BC-CJC.

26

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28   2
         To be used pursuant to Federal Rule of Bankruptcy Procedure 7032 and F.R.Civ.P 32(a)(2).

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 1                                                  APPENDIX 2

 2                                          (DEFENDANT’S EXHIBITS)

 3   Defendant OFFERS:

 4          Exhibit A:           Commercial Escrow Services, Inc. BAK-CHEIK 0001-005

 5          Exhibit B:           HSBC Bank Standby Letter of Credit Agreement, CHEIKES 00274-00281

 6          Exhibit C:           Irrevocable Pay Order and Master Fee Protection Agreement, BAK-

 7                                CHEIK 0019-22

 8          Exhibit D:           Pay Order Request, BAK-CHEIK 0017-0018

 9          Exhibit E:           NACC Letter authored by Stanley Johnson, BAK-CHEIK 0014

10          Exhibit F:           Emails dated March 1, 2011, BAK-CHEIK, 000716-717

11          Exhibit G:           Letter dated March 1, 2011 authored by Rik Wlodarczyk, CHEIKES00136

12          Exhibit H:           Outgoing Wire Transfer Request, BAK-CHEIK 000645

13          Exhibit I:           Letter dated February 27, 2011, CHEIKES 00144-145

14          Exhibit J:           Email dated July 13, 2011, authored by Stephen Cheikes, CHEIKES00390

15                                00391

16          Exhibit K:           Email dated April 5, 2011, authored by Stephen Cheikes

17          Exhibit L:           Emails dated April 29, 2011, CHEIKES 00372-376

18          Exhibit M:           Email dated May 3, 2011, authored by Stephen Cheikes, BAK-CHEIK

19                                000642

20          Exhibit N:           Email dated May 4, 2011, authored by Stephen Cheikes, BAK-CHEIK

21                                000619

22          Exhibit O:           Golden Creek Energy Web page

23          Exhibit P:           NACC Irrevocable International Indemnity & Disclaimer authored by

24                                Stanley Johnson, CHEIKES00396

25          Exhibit Q:           NACC Letter dated February 23, 2011, authored by James Wells,

26                                CHEIKES00397

27          Exhibit R:           Irrevocable International Indemnity & Disclaimer (On Company

28                                Letterhead) to Stephen Cheikes

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 1          Exhibit S:           Agreement to Facilitate Loan Transaction, CHEIKES 00209-00211

 2          Exhibit T:           Deposition of Stephen Cheikes (original copy to be lodged in accordance

 3                                with L.B.R. 7030-1(b));

 4          Exhibit U:           Deposition Transcript of Antoinette Hardstone (original copy to be lodged

 5                                in accordance with L.B.R. 7030-1(b));

 6          Exhibit V:           Declaration of Stephen Cheikes in Support for Motion for Partial Summary

 7                                Judgment dated April 12, 2018

 8          Exhibit W:           Declaration of Stephen Cheikes Dated January 7, 2015 (Cheikes v. Bakshi

 9                                LASC No. 30-2013-00637770)

10          Exhibit X:           Defendant’s First Set of Requests for Admission Propounded to Plaintiff

11          Exhibit Y:           Plaintiff’s Response to Defendant’s First Set of Request for Admissions

12          Exhibit Z:           Plaintiff’s Supplemental Response to Defendant’s First Set of Request for

13                                Admissions

14          Exhibit AA:          Letter dated April 5, 2011, authored by Shaman Bakshi, CHEIKES00213

15          Exhibit BB:          Letter dated April 5, 2011, authored by Stephen Cheikes, CHEIKES00212

16          Exhibit CC:          Email dated April 22, 2011, CHEIKES00214-215

17          Exhibit DD:          Defendant’s First Set of Request for Production of Documents Propounded

18                                to Plaintiff

19          Exhibit EE:          Plaintiff’s Response to Defendant’s First Set of Request for Production of

20                                Documents dated February 5, 2019

21          Exhibit FF:          Plaintiff’s Supplemental Response to Defendant’s First Set of Request for

22                                Production of Documents dated February19, 2019

23          Exhibit GG:          Plaintiff’s [Second] Set of Supplemental Response to Defendant’s First Set

24                                of Request for Production of Documents dated March 14, 2019.

25          Exhibit HH:          Defendant’s Second Set of Requests for Production of Documents

26                                Propounded to Plaintiff

27          Exhibit II:          Defendant’s Third Set of Requests for Production of Documents

28                                Propounded to Plaintiffs

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 1          Exhibit JJ:          Plaintiff’s Response to Defendant’s Requests for Production of

 2                                Documents, Set Three dated June 10, 2019.

 3          Exhibit KK:          Plaintiff’s Response to Defendant’s Requests for Production of

 4                                Documents, Set Three dated July 10, 2019.

 5          Exhibit LL:          Defendant’s First Set of Interrogatories Propounded to Plaintiffs

 6          Exhibit MM: Plaintiff’s Response to Defendant’s First Set of Interrogatories

 7          Exhibit NN:          Plaintiff’s [First] Set of Supplemental Response to Defendant’s First Set of

 8                                Interrogatories

 9          Exhibit OO:          Expert Report of Frank Hicks Beth Chrisman.

10          Exhibit PP:          Distribution of Proceeds and Personal Guarantee Agreement dated

11                                February 23, 2011.

12          Exhibit QQ:          Petition For Dissolution of Marriage; Case No. 12D006662, Superior Court

13                                County of Orange

14          Exhibit RR:          Judgment Made in Chambers, In The High Court of The Republic Of

15                                Singapore

16          Exhibit SS:          Declaration of Stephen Cheikes filed on January 9, 2015.

17          Exhibit TT:          Reporter’s Transcript of Proceeding, Vols. 1 and 2, September 6-7, 2018,

18           United States Bankruptcy Court, Southern District; Adversary #17-90123; Case # 17-

19           01567-CL (certified copies to be lodged prior to trial pursuant to Local Bankruptcy

20           Rules).

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 1                                                APPENDIX 3

 2                                        (PLAINTIFFS’ WITNESSES)

 3       1. Plaintiff Stephen Cheikes – Plaintiff will testify regarding the facts and circumstances

 4           surrounding the allegations in the Complaint, his involvement in the Transaction, his

 5           communications with Defendant Shaman Bakshi, and his communications with Mr.

 6           Wlodarczyk.

 7                    Estimated Direct:                       3.0 hours

 8                    Estimated Cross-examination:            1.5 hours

 9       2. Richard Charles Wlodarczyk, III – Mr. Wlodarczyk will testify:

10                a. He was introduced to Plaintiff by Defendant.

11                b. He was a principal in the Transaction that Defendant was asking Plaintiff to invest

12                    in.

13                c. That Defendant was involved in the Transaction as a principal and Defendant was

14                    the main point of contact with Plaintiff.

15                d. His communications with Defendant during the negotiations of the Transaction.

16                e. That none of the parties to Transaction compromised Defendant’s computer, email

17                    or impersonated Defendant to Plaintiff.

18                f. His communications with Defendant in the months following the failure of the

19                    Transaction and Plaintiff’s demand to be repaid the €300,000.

20                g. His communications with Defendant in the years following the failed Transaction

21                    and their efforts to repay Plaintiff.

22                    Estimated Direct:                       1.5 – 2.0 hours

23                    Estimated Cross-Examination :           1.0 hour

24       3. Defendant Shaman Bakshi – The Defendant will be cross-examined and/or called on

25           direct examination as to his background and experience, the facts and circumstances

26           surrounding the allegations alleged in Plaintiff’s Complaint with respect to the

27           Transaction, his communications with Plaintiff, communications with the other principals

28           in the Transaction, and his communications with Plaintiff and others, including Jon Orban,

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 1           after the Transaction fell apart and Defendant was trying to repay Plaintiff the €300,000.

 2                    Estimated Direct:                       2.0 hours

 3                    Estimated Cross-examination:            2.0 hours

 4       4. Antoinette (“Toni”) Hardstone – Ms. Hardstone was the escrow officer at Commercial

 5           Escrow Services, Inc. that handled the Transaction. Plaintiff intends to call Ms. Hardstone

 6           to testify regarding her involvement in the Transaction, her communications with the

 7           principals in the Transaction, and the Transaction-related documents.

 8                    Estimated Direct:                       60 mins

 9                    Estimated Cross-examination:            30 - 45 mins

10       5. Jon Orban – Mr. Orban will testify:

11                a. He is a former special forces military officer.

12                b. He is a businessman who has started and sold multiple business in the medical

13                    field.

14                c. At the request of Plaintiff, Mr. Orban and Defendant met in person in

15                    approximately 2017 so that Defendant could explain to Mr. Orban, and Mr. Oban

16                    could vet, a hospital deal that Defendant was working on and through which

17                    Defendant intended to use proceeds from the deal to repay Plaintiff the €300,000

18                    invested.

19                    Estimated Direct:                       30 minutes

20                    Estimated Cross-examination:            30 minutes

21       6. Rajendra Amin – Mr. Amin is the Notary Public that witnessed Defendant execute the

22           Transaction-related documents identified as Plaintiffs’ Exhibits Nos. 26 and 27 on March

23           17, 2011.

24                    Estimated Direct:                       25 minutes

25                    Estimated Cross-examination:            25 minutes

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 1                                               APPENDIX 4

 2                                        (DEFENDANT’S WITNESSES)

 3   A.      Antoinette Hardstone
             115 Elderwood Drive
 4           Pleasant Hills, CA
 5           Ms. Hardstone will testify:

 6           1.       She is an experienced as an escrow officer at Commercial Escrow Services, Inc.

 7   with a specialty in “holding escrows”.

 8           2.       She had done 5 or 6 transactions with Richard Wlodarczyk and Brad Russell of

 9   Creative Financial Resources, LLC prior to the subject transaction and they all involved holding

10   escrows. She may have done one other transactions with Sebastian Anthonysamy prior to and

11   one after the subject transaction. She never did any transactions with the Defendant nor did she

12   talk with the Defendant as part of the subject transaction. She did not know who the Defendant

13   was. None of the prior deals she was involved in with Creative Financial Resources, LLC., Mr.

14   Russell or Mr. Wlodarczyk involved the Defendant. She had never met Plaintiff or been involved

15   in any transactions with Plaintiff prior to the subject transaction. She had never met or had any

16   prior transactions involving NACC prior to the subject transaction.

17           3.       The two parties to the escrow were Plaintiff and Sebastian Anthonysamy who

18   executed the escrow instructions. Wlodarczyk and Brad Russell were facilitators making sure all

19   needed documents to the transaction were obtained and approved by Plaintiff.

20           4.       Documents were deposited and escrow opened on or about February 23, 2010, and

21   the purpose of the escrow was to assist Plaintiff in obtaining a financial instrument account

22   SBLC.

23           5.       The witness was providing to Plaintiff documents provided by Rik Wlodarczyk so

24   she was communicating with Plaintiff. Plaintiff revised the escrow instructions to require both

25   his oral and written authorization to release the escrow funds. On March 1, 2011, Plaintiff

26   provided written and oral authorization to Ms. Hardstone and the funds deposited into escrow

27   were released in accordance with the executed agreements. Escrow was closed and funds

28   distributed in accordance with the Pay Order Request: €200,000 euros was wired to Sebastian

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 1   Anthonysamy, €80,000 euros to Creative Financial Resources, LLC, and €20,000 to ADPF

 2   Investments PTE Ltd.

 3           6.       Plaintiff accused the escrow officer of improperly releasing the escrow funds, a

 4   charge Ms. Hardstone denied.

 5                    Estimated Direct:                       60 mins

 6                    Estimated Cross-examination:            45 mins

 7   B.      Stephen Cheikes
             1400 Lynburne Place, Suite 801
 8           Victoria, British Columbia, V9 B0A4
 9           1.       Mr. Cheikes is the Plaintiff. He will be cross-examined and/or called on direct
10   examination as to his background and experience, the allegations alleged by him in the Complaint
11   with respect to the investment opportunity, his understanding of the transaction, the
12   documentation which was a part of the transaction, the escrow, his investigation, his actions and
13   his contact with individuals, recovery of monies from suing third parties, declarations and
14   discovery responses submitted to the courts in this dispute.
15           Estimated Direct:                      3-4 hours
16           Estimated Cross-examination:           1.5-2 hours
17   C.      Beth Chrisman Frank Hicks
18           17011 Beach Blvd., Suite 565 444 W. Ocean Blvd, Suite 800
19           Huntington Beach, CA 92647 444 Long Beach, CA 940802
20           Qualifications: Ms. Chrisman is a certified and court-qualified forensic document
21   examiner. She has been in private practice since 2006 and is certified by the International
22   Association of Document Examiners and is active in various associations which regulate the
23   study, training and examination of documents including signatures. She has appeared and been
24   qualified to testify before the courts in the State of California and in Federal Courts. Ms.
25   Chrisman’s expert report has been exchanged and lodged with the Court.
26           Ms. Chrisman will testify:
27           1.       As to her past background and experience as a forensic document examiner.
28

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 1   The identities, properties and characteristics of alleged signature(s) attributed to Shaman Bakshi

 2   appearing on the Distribution of Proceeds and Personal Guarantee Agreement dated February 23,

 3   2011, the Agreement To Facilitate Loan Transaction dated March 11, 2011, the HSBC (UK)

 4   Standby Letter of Credit Issuance Agreement, as well select other documents and are all images

 5   of the same single signature manipulated and pasted on signature lines and at the corners of

 6   documents.

 7           2.       Based on the review of sample signatures of the Defendant, and the properties and

 8   characteristics in the signatures on documents in question and documents prepared as removed

 9   from the time frame of the questioned signature, in her opinion the challenged signature is not an

10   image of the Defendant’s original signature.

11                    Estimated Direct:                        60-80 mins

12                    Estimated Cross-examination:             45 mins

13   D.      Shaman Bakshi

14           710 N. El Centro Avenue, #303

15           Los Angeles, CA 90038

16   Mr. Bakshi will testify as to his

17           1.       Background and experience,

18           2.       The introduction to Plaintiff and the single meeting that took place in California,

19           3.       His interaction or lack of interaction with various individuals that were a party to

20   the subject transaction.

21           4.       Defendant was not a party to the escrow nor did he have any control as to the

22   disbursement of any funds out of escrow.

23           5.       Defendant realized no sums, directly or indirectly, that Plaintiff alleges in the

24   Complaint to have been improperly taken or not returned.

25           6.       That he did not sign the Distribution of Proceeds and Personal Guarantee

26   Agreement or the Agreement To Facilitate Loan Transaction.

27           7.       Separation from his wife in December 2010-January 2011, the subsequent divorce

28   proceedings, child custody dispute, and formal divorce in 2013.

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 1           8.       The hacking of his email account.

 2           Estimated Direct:                     2 hours depending on order called.

 3           Estimated Cross-examination:          2-3 hours

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         Case 2:18-ap-01235-VZ           Doc 180 Filed 10/31/22 Entered 10/31/22 16:26:50                        Desc
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify AMENDED PRE-TRIAL STIPULATION FOR
CLAIMS FOR RELIEF SOLELY AS TO SUBSTITUTE EXPERT FOR DECEASED EXPERT will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 31, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

        Brad D Krasnoff (TR) BDKTrustee@DanningGill.com,
         krasnoff@ecf.axosfs.com;DanningGill@gmail.com
        Jon N. Owens nathan.owens@ndlf.com, sue.peterson@ndlf.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) October 31, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 31, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                  FEDERAL EXPRESS
                                                                  Honorable Vincent Zurzolo
                                                                  United States Bankruptcy Court
                                                                  Central District of California
                                                                  255 E. Temple Street
                                                                  Suite 1360/Courtroom 1368
                                                                  Los Angeles, CA 90012


                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  October 31, 2022                          Rolanda Mori                       /s/ Rolanda Mori
  Date                       Printed Name                                      Signature




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